                      Case 2:20-cv-00302-SCJ Document 156-43 Filed 05/16/22 Page 1 of 3
1 1/17/2020                                                         True the Vote Mail - Validate the Vote project




               TRUE rh• VOTE                                                              Catherine Engelbrecht <catherine@truethevote.org>


                                                                                                                     ---------------


  Val idate the Vote project
  6 messages
                           -·-------------------
                                               -- ----------·-----




  Catherine Engelbrecht <catherine@truethevote. org>                                                                    Mon, Nov 1 6, 2020 at 4:25 PM
  To: Fred Eshelman <fred@eshelmanventures.com>, Jim Bopp <jboppjr@aol.com>

    Fred -

    I've attached the budget we provided to Tom and Dikran on November 5th. Our not having full funding was well known
    and often discussed. I 'd written in my 1 1 /1 4 email to you that it appeared our legal fees would have been covered by the
    Trump campaign , which I described in a statement of our cash position, described as best as possible given the tight
    timeline with so many moving parts.

    We have done a tremendous amount of work in the 1 1 days since we first met, have talked with Tom routinely about
    status, and provided him with access to all comms, press releases, and briefings. Tom and Dikran both asked that I
    communicate directly through them and indicated that the information was being passed to you. Moving forward, I will
    keep you directly apprised o f continued developments in t he whistleblower situation, u nless I hear otherwise from you.

    With sincere thanks for your support -
    Catherine Engelbrecht



    ,---,:..
    !,..;catherine Engelbrecht
    Founder, True the Vote


      � Validate the Vote 2020.pdf
               299K


  Fred Eshelman <fred@eshelmanventures.com>                                                                            Mon. Nov 1 6, 2020 at 6 :48 PM
  To: Catherine Engelbrecht <catherine@truethevote.org>
  Cc: "Tom C rawford (tomcrawforddc@gmail.com)" <tomcrawforddc@gmail.com>


    Catherine,

          Very fran kly I was physically sick after our call. Tom is totally "globsmacked" as he said. Both of us are very
    experienced in playing in the big arena. I have been CEO of a number of companies. I am not trying to toot my own horn,
    but I have to tell you this is a total disaster from a coordination, communication, and representation perspective. I hope
    that we are all after the same objective from the standpoint of our country, but Tom and I have no interest in being a hero,
    only g etting the job done. We also have no interest in CYA which we had a lot of on the call today. I am going to try to
    figure out what, if anything, you wil l accomplish in terms of overall objective, and otherwise will request a refund of
    contributions. If you and Ji m want to realign and cut out the personal stuff, fine. Otherwise I will be requesting a refund of
    most if not all of my funds. We all need to play to our strengths, and this has not been happening.

          I do believe that we are all patriots and want the best for our country. However, I do not think that we are aligned on
    other things. I a m considering what to do next, and quite frankly it is not what was represented on the call today.

    Fred


    From : Catherine Engelbrecht <catherine@truethevote.org>
    Sent: Monday, November 1 6 , 2020 5:26 P M
    To: Fred Eshelman <fred@eshelmanventures.com>; J i m Bopp <jboppjr@aol.com>
    Subject: Validate the Vote project



https://mail .google.com/mail/u/1 ?ik=5d8defe3c0&view=pt&search=all&petmthid=thread-a%3Ar460968064263246l l 70&simpl=msg-a%3Ar64842685 1 8 1 97696434. . .   113

                                                                         314 0161
                                                                    Bopp Defs.
                      Case 2:20-cv-00302-SCJ Document 156-43 Filed 05/16/22 Page 2 of 3
1 11!7/2020                                                          True the Vote Mail - Validate the Vote project




     Fred -



    I've attached the budget we provided to Tom and Dikran on N ovember 5th. Our not having full funding was well known
    and often discussed. I'd written in my 1 1 /1 4 email to you that it appeared our legal fees would have been covered by the
    Trump campaign, which I described in a statement of our cash position , described as best as possible given the tight
    timeline with so many moving parts.



    We have done a tremendous amount of work in the 1 1 days since we first met, have talked with Tom routinely about
    status, and provided h i m with access to all comms, press releases, and briefings. Tom and Dikran both asked that I
    communicate directly through them and indicated that the information was being passed to you. Moving forward, I will
    keep you directly apprised of continued developments in the whistleblower situation, u n less I hear otherwise from you.



    With sincere thanks for your support -

    Catherine Engelbrecht




    L---C
        ---.....J atherine Engelbrecht

    Founder, True the Vote



                                                              ·------·---           -·----·---                  --·------ ---··----



  Catherine Engelbrecht <catherine@truethevote.org>                                                                      Mon. Nov 1 6, 2020 at 6:54 P M
  To: Jim Bopp <jboppjr@aol.com>

    I don't even know what to do with this.
    (Quoted text hidden]


    :.r:catherine Engelbrecht
    Founder, True the Vote



  Catherine Engelbrecht <catherine@truethevote.org>                                                                     M o n . Nov 1 6, 2020 at 7: 1 5 PM
  To: Dee Lynch <deely@mac.com>



    ---------- Forwarded message ---------
    From: Fred Eshelman <fred@eshelmanventures. com>
    Date: Mon, Nov 1 6, 2020 at 6 :48 P M
    Subject: R E : Val idate the Vote project
    To: Catherine Engelbrecht <catherine@truethevote . org >
    CC: Tom C rawford (tomcrawforddc@gmail .com) <tomcrawforddc@gmail.com>


https://mail .google.com/mai 1/u/1 ?ik=5d8defe3c0&view=pt&search=all&pennthid=thread-a%3Ar460968064263246 1 1 70&si mpl=msg-a%3Ar648426851 8 197696434. . .   2/3

                                                                           315 0162
                                                                      Bopp Defs.
2/1 6/2021                                          Validate the Vote project
                        Case 2:20-cv-00302-SCJ Document   156-43       Filed 05/16/22 Page 3 of 3
   Subj ect:        Validate the Vote project
  Date:             1 11 1 6/2020 5 :26:07 PM US Eastern Standard Time
  From:             catherine@truethevote.org
  To:               fred@eshelmanventures.com, jboppjr@aol.com


  Fred       -




  I've attached the budget we provided to Tom and Dikran on November 5th. Our not having full funding was
  well known and often discussed. I'd written in my 1 1/14 email to you that it appeared our legal fees would have
  been covered by the Trump campaign, which I described in a statement of our cash position, described as best as
  possible given the tight timeline with so many moving parts.

  We have done a tremendous amount of work in the 1 1 days since we first met, have talked with Tom routinely
  about status, and provided him with access to all comms, press releases, and briefings . Tom and Dikran both
  asked that I communicate directly through them and indicated that the information was being passed to you.
  Moving forward, I will keep you directly apprised of continued developments in the whistleblower situation,
  unless I hear otherwise from you.


  With sincere thanks for your support -
  Cathe1ine Engelbrecht




  !;'jcatherine Engelbrecht
  Founder, True the Vote




jboppjr's mailbox                                             316 0163
                                                         Bopp Defs.                                                  1 /1
